                                           Case 2:23-cv-00247-JAD-VCF Document 15 Filed 03/08/23 Page 1 of 8



                                  1 J. Stephen Peek (1758)
                                    Erica C. Medley (13959)
                                  2 HOLLAND & HART LLP
                                    9555 Hillwood Drive, 2nd Floor
                                  3 Las Vegas, NV 89134
                                    Tel: 702.669.4600
                                  4 Fax: 702.669.4650
                                    speek@hollandhart.com
                                  5 ecmedley@hollandhart.com
                                  6 Tariq Mundiya (pro hac vice)
                                  7 Jeffrey B. Korn (pro hac vice)
                                    WILLKIE FARR & GALLAGHER LLP
                                  8 787 Seventh Avenue
                                    New York, New York 10019
                                  9 (212) 728-8000
                                    tmundiya@willkie.com
                                 10 jkorn@willkie.com
                                 11 Michael J. Gottlieb (pro hac vice)
                                    WILLKIE FARR & GALLAGHER LLP
                                 12 1875 K Street, NW
9555 HILLWOOD DRIVE, 2ND FLOOR




                                    Washington, DC 20006
                                 13 (202) 303-1000
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                    mgottlieb@willkie.com
                                 14
                                    Attorneys for Plaintiffs
                                 15 Jysan Holding, LLC; and
                                 16 Jusan Technologies Ltd.
                                 17                          UNITED STATES DISTRICT COURT
                                                                  DISTRICT OF NEVADA
                                 18
                                    JYSAN HOLDING, LLC, a Nevada Limited          Case No.: 2:23-CV-00247-JAD-VCF
                                 19 Liability Company; JUSAN
                                    TECHNOLOGIES LTD, an England and              MOTION FOR SERVICE OF THE
                                 20 Wales Limited Company;                        SUMMONS AND COMPLAINT ON
                                                                                  INDIVIDUALS IN A FOREIGN
                                 21                       Plaintiffs,             COUNTRY PURSUANT TO
                                      v.                                          FRCP 4(F)(2)(C)(II)
                                 22
                                    REPUBLIC OF KAZAKHSTAN, a foreign
                                 23 sovereign state; THE AGENCY FOR
                                    REGULATION AND DEVELOPMENT OF
                                 24 THE FINANCIAL MARKET OF THE
                                    REPUBLIC OF KAZAKHSTAN, a
                                 25 Kazakhstan Government agency; THE ANTI-
                                 26 CORRUPTION AGENCY OF THE
                                    REPUBLIC OF KAZAKHSTAN, a
                                 27 Kazakhstan Government anti-corruption
                                    agency ; THE FINANCIAL MONITORING
                                 28 AGENCY OF THE REPUBLIC OF


                                                                              1
                                           Case 2:23-cv-00247-JAD-VCF Document 15 Filed 03/08/23 Page 2 of 8



                                  1 KAZAKHSTAN, a Kazakhstan Government
                                    agency; THE COMMITTEE FOR
                                  2 NATIONAL SECURITY OF
                                    KAZAKHSTAN, a Kazakhstan Government
                                  3 intelligence agency; MADINA
                                    ABYLKASSYMOVA, an individual;
                                  4 OLZHAS KIZATOV, an individual; ARMAN
                                    OMARBEKOV, an individual; and
                                  5 ADILBEK DZHAKSYBEKOV, an
                                    individual,
                                  6
                                  7                       Defendants.

                                  8        Plaintiffs Jysan Holding, LLC (“Jysan Holding”) and Jusan Technologies Ltd. (“JTL”)
                                  9 (collectively, “Plaintiffs”), in accordance with Federal Rule of Civil Procedure
                                 10 (“FRCP”) 4(f)(2)(C)(ii), hereby move for an Order directing the Clerk of Court to effect
                                 11 service of the Complaint, respective Summons, and the Russian translations thereof, on
                                 12 Defendants Madina Abylkassymova, Olzhas Kizatov, and Arman Omarbekov, via tracked
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 international mail (i.e., DHL or FedEx) with signed return receipt requested, at the addresses
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 identified below. Plaintiffs further propose to furnish the Clerk of the Court with all necessary
                                 15 documents to effect service, including paper copies of the Complaint, respective Summons,
                                 16 and the Russian translations thereof, along with international courier envelopes and pre-
                                 17 addressed, pre-paid international shipment waybills.
                                 18
                                 19        Madina Abylkassymova, Chairperson
                                           c/o The Agency for Regulation and Development of the Financial Market of the
                                 20        Republic of Kazakhstan
                                           21, Koktem-3
                                 21        Almaty, 050040
                                 22        Republic of Kazakhstan

                                 23        Olzhas Kizatov, Deputy Chairperson
                                           c/o The Agency for Regulation and Development of the Financial Market of the
                                 24        Republic of Kazakhstan
                                 25        21, Koktem-3
                                           Almaty, 050040
                                 26        Republic of Kazakhstan
                                 27
                                 28


                                                                                    2
                                      Case 2:23-cv-00247-JAD-VCF Document 15 Filed 03/08/23 Page 3 of 8



                                 1    Arman Omarbekov
                                      c/o The Agency for Regulation and Development of the Financial Market of the
                                 2    Republic of Kazakhstan
                                 3    21, Koktem-3
                                      Almaty, 050040
                                 4    Republic of Kazakhstan
                                 5
                                 6    DATED this 8th day of March 2023.
                                                                              HOLLAND & HART LLP
                                 7
                                 8                                             /s/ J. Stephen Peek
                                                                              J. Stephen Peek
                                 9                                            Erica C. Medley
                                                                              9555 Hillwood Drive, 2nd Floor
                                 10                                           Las Vegas, NV 89134
                                 11                                           Tariq Mundiya (pro hac vice)
                                                                              Jeffrey B. Korn (pro hac vice)
                                 12                                           WILLKIE FARR & GALLAGHER LLP
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13                                           787 Seventh Avenue
                                                                              New York, New York 10019
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                                                              Michael J. Gottlieb (pro hac vice)
                                 15                                           WILLKIE FARR & GALLAGHER LLP
                                                                              1875 K Street, NW
                                 16                                           Washington, DC 20006

                                 17                                           Attorneys for Plaintiffs
                                 18
                                 19
                                 20
                                 21
                                 22
                                 23
                                 24
                                 25
                                 26
                                 27
                                 28


                                                                          3
                                          Case 2:23-cv-00247-JAD-VCF Document 15 Filed 03/08/23 Page 4 of 8



                                  1                    MEMORANDUM OF POINTS AND AUTHORITIES
                                  2                                    I.    INTRODUCTION
                                  3        Plaintiffs move for an Order directing the Clerk of Court to effect service of the
                                  4 Complaint, respective Summons, and the Russian translations thereof, on Defendants Madina
                                  5 Abylkassymova, Olzhas Kizatov, and Arman Omarbekov, pursuant to FRCP 4(f)(2)(C)(ii),
                                  6 which permits service on an individual in a foreign country using any tracked international mail
                                  7 that the Clerk addresses and sends to the individual and that requires a returned receipt.
                                  8 Plaintiffs request mailed service upon these Individual Defendants in the Republic of
                                  9 Kazakhstan (“Kazakhstan”) under FRCP 4(f)(2)(C)(ii) in order to provide them with the best
                                 10 and most expeditious service of the Complaint and Summons.
                                 11                        II.   FACTS AND PROCEDURAL HISTORY
                                 12        On February 16, 2023, Plaintiffs filed their Complaint in this action. See ECF No. 1. On
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 February 21, 2023, Plaintiffs submitted to the Court proposed summonses to be issued to all
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 Defendants. See ECF No. 4. The next day, the Clerk issued the summonses. See ECF No. 5.
                                 15        Four of the nine Defendants in this action are individuals (the “Individual Defendants”)
                                 16 located in a foreign country—Kazakhstan. Plaintiffs have obtained the business addresses of
                                 17 three of the Individual Defendants—Madina Abylkassymova, Olzhas Kizatov, and Arman
                                 18 Omarbekov—each of whom is employed by the Agency for Regulation and Development of
                                 19 the Financial Market of the Republic of Kazakhstan. Plaintiffs are diligently working to obtain
                                 20 an address or alternate contact information for the remaining Individual Defendant—Adilbek
                                 21 Dzhaksybekov. The remaining five Defendants are considered either “[a] foreign state or its
                                 22 political subdivision, agency, or instrumentality” under FRCP 4(j)(1), and Plaintiffs are
                                 23 accordingly beginning the process of serving them pursuant to 28 U.S.C. § 1608(a) and the
                                 24 Convention on the Service Abroad of Judicial Documents in Civil or Commercial Matters,
                                 25 Nov. 15, 1965 (“Hague Service Convention”), 20 U.S.T. 361, T.I.A.S. No. 6638.
                                 26        Plaintiffs are presently prepared to serve Defendants Madina Abylkassymova, Olzhas
                                 27 Kizatov, and Arman Omarbekov, and accordingly file the instant Motion to direct the Clerk of
                                 28 Court to effect service pursuant to FRCP 4(f)(2)(C)(ii).


                                                                                   4
                                           Case 2:23-cv-00247-JAD-VCF Document 15 Filed 03/08/23 Page 5 of 8



                                  1                                    III. LEGAL ARGUMENT
                                  2         Plaintiffs seek to effectuate service on the Individual Defendants in Kazakhstan, which
                                  3 is a signatory to the Hague Service Convention. “[I]n cases governed by the Hague Service
                                  4 Convention, service by mail is permissible if two conditions are met: first, the receiving state
                                  5 has not objected to service by mail; and second, service by mail is authorized under otherwise-
                                  6 applicable law.” Water Splash, Inc. v. Menon, 581 U.S. 271, 284 (2017). Both conditions are
                                  7 met here.
                                  8         First, the Hague Service Convention allows mail service under Article 10(a),
                                  9 stating,“[p]rovided the State of destination does not object, the present Convention shall not
                                 10 interfere with . . . the freedom to send judicial documents, by postal channels, directly to
                                 11 persons abroad . . . .” Kazakhstan has not objected to Article 10(a) of the Hague Service
                                 12 Convention. 1
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13         Second, service by mail is authorized under otherwise applicable law, that is, the law of
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 the forum in which the case is pending. Pursuant to FRCP 4(f)(2)(C)(ii), “an individual . . . may
                                 15 be served at a place not within any judicial district of the United States . . . if an international
                                 16 agreement allows but does not specify other means, by a method that is reasonably calculated
                                 17 to give notice . . . unless prohibited by the foreign country’s laws, by[] . . . using any form of
                                 18 mail that the clerk addresses and sends to the individual and that requires a signed receipt.”
                                 19 (emphases added). See Brockmeyer v. May, 383 F.3d 798, 804-05 (9th Cir. 2004) (stating that
                                 20 Rule 4(f)(2)(C)(ii) provides “[e]xplicit, affirmative authorization for service by international
                                 21 mail” and that “[t]his rule authorizes service abroad by mail for which a signed receipt is
                                 22 required, when such mail is addressed and mailed by the clerk of the federal district court in
                                 23 which the suit is filed”).
                                 24         Plaintiffs accordingly may serve the Individual Defendants in Kazakhstan by mail as
                                 25 permitted pursuant to the Hague Service Convention and FRCP 4(f)(2)(C)(ii). This Court has
                                 26
                                 27   1
                                        Republic of Kazakhstan’s Declarations to the Hague Service Convention, available at
                                      https://www.hcch.net/en/instruments/conventions/status-table/notifications/?csid=1320&disp=resdn
                                 28   (last accessed March 7, 2023).


                                                                                      5
                                             Case 2:23-cv-00247-JAD-VCF Document 15 Filed 03/08/23 Page 6 of 8



                                  1 previously granted similar requests for service of foreign defendants via international registered
                                  2 mail pursuant to FRCP 4(f)(2)(C)(ii). See Order granting re 56 Motion for Service of the
                                  3 Amended Complaint and Summons in a Foreign Country Pursuant to FRCP 4(f)(2)(C)(ii), U.S.
                                  4 Philips Corp. v. Synergy Dynamics Int’l, LLC et al., No. CV-S-05-0577-PMP (GWF) (D. Nev.
                                  5 Nov. 30, 2005), ECF Nos. 56, 60.
                                  6          To assist the Clerk with effecting service on three of the Individual Defendants in
                                  7 Kazakhstan, Plaintiffs are prepared to promptly furnish the Clerk’s office with the following:
                                  8 (i) a copy of this Court’s Order directing the Clerk to effect service of the Complaint and each
                                  9 respective Summons on Madina Abylkassymova, Olzhas Kizatov, and Arman Omarbekov;
                                 10 (ii) one copy of the Complaint for each of the above-named Defendants; (iii) one copy of the
                                 11 Summons issued by the Clerk for each of the above-named Defendants; (iv) Russian
                                 12 translations of the Complaint and Summonses; 2 (iv) one international mail (i.e., DHL or FedEx)
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 envelope for each of the above-named Defendants; and (v) one pre-paid international shipment
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 waybill filled out and addressed to each of the above-named Defendants with signed return
                                 15 receipt requested, Plaintiffs’ counsel listed as the sender and return address, and Plaintiffs’
                                 16 counsel’s payer account number listed for payment for shipment of the return receipt. If
                                 17 helpful, Plaintiffs will also schedule the packages to be picked up from the Clerk’s office by
                                 18 the international mail service.
                                 19
                                 20
                                 21
                                 22
                                 23 ///
                                 24 ///
                                 25 ///
                                 26
                                      2
                                          Exhibits A-C are compilations of the Complaint, Summons, and Russian translations thereof for
                                 27 Defendants Abylkassymova, Kizatov, and Omarbekov, respectively. While Plaintiffs will provide
                                      paper copies to the Clerk along with the associated envelopes and pre-paid international shipment
                                 28 waybills, Plaintiffs attach these documents as Exhibits for the Court’s review.


                                                                                       6
                                         Case 2:23-cv-00247-JAD-VCF Document 15 Filed 03/08/23 Page 7 of 8



                                 1                                      IV. CONCLUSION
                                 2        Based upon the foregoing, Plaintiffs respectfully request that the Court direct the Clerk
                                 3 of Court to effect service of the Complaint, respective Summons, and the Russian translations
                                 4 thereof, upon Defendants Madina Abylkassymova, Olzhas Kizatov, and Arman Omarbekov
                                 5 via tracked international mail service with signed return receipt requested, pursuant to
                                 6 FRCP 4(f)(2)(C)(ii).
                                 7       DATED this 8th day of March 2023.
                                                                                      HOLLAND & HART LLP
                                 8
                                 9                                                     /s/ J. Stephen Peek
                                                                                      J. Stephen Peek
                                 10                                                   Erica C. Medley
                                                                                      9555 Hillwood Drive, 2nd Floor
                                 11                                                   Las Vegas, NV 89134
                                 12                                                   Tariq Mundiya (pro hac vice)
9555 HILLWOOD DRIVE, 2ND FLOOR




                                                                                      Jeffrey B. Korn (pro hac vice)
                                 13                                                   WILLKIE FARR & GALLAGHER LLP
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14                                                   787 Seventh Avenue
                                                                                      New York, New York 10019
                                 15
                                                                                      Michael J. Gottlieb (pro hac vice)
                                 16                                                   WILLKIE FARR & GALLAGHER LLP
                                                                                      1875 K Street, NW
                                 17                                                   Washington, DC 20006

                                 18                                                   Attorneys for Plaintiffs
                                                                                      Jysan Holding, LLC; and
                                 19                                                   Jusan Technologies Ltd.
                                 20
                                 21
                                 22
                                 23
                                 24
                                 25
                                 26
                                 27
                                 28


                                                                                  7
                                      Case 2:23-cv-00247-JAD-VCF Document 15 Filed 03/08/23 Page 8 of 8



                                 1                           INDEX OF EXHIBITS
                                 2
                                      Exhibit                       Description                       Page No.
                                 3       A         Complaint, Summons, and Russian Translations for   1- 81
                                 4                 Defendant Madina Abylkassymova

                                 5       B         Complaint, Summons, and Russian Translations for   82-162
                                                   Defendant Olzhas Kizatov
                                 6
                                 7       C         Complaint, Summons, and Russian Translations for   163-243
                                                   Defendant Arman Omarbekov
                                 8
                                 9
                                 10
                                 11
                                 12
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                 15
                                 16
                                 17
                                 18
                                 19
                                 20
                                 21
                                 22
                                 23
                                 24
                                 25
                                 26
                                 27
                                 28


                                                                       8
